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                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                       CLARKSBURG

  CYNTHIA D. PAJAK,

          Plaintiff,

  v.                                                  Civil Action No. 1:19-CV-160
                                                      (JUDGE KEELEY)
  UNDER ARMOUR, INC.,
  UNDER ARMOUR RETAIL, INC.,
  AND BRIAN BOUCHER,

          Defendants.

           MEMORANDUM OPINION AND ORDER DENYING DEFENDANT’S
       MOTION FOR PROTECTIVE ORDER REGARDING PLAINTIFF’S NOTICE OF
       VIDEOGRAPHIC RULE 30(b)(6) DEPOSITION OF UNDER ARMOUR, INC. AND
                   UNDER ARMOUR RETAIL, INC. [ECF NO. 212]

          Presently pending before the Court is Defendant’s Motion for Protective Order Regarding

  Plaintiff’s Notice of Videographic Rule 30(b)(6) Deposition of Under Armour, Inc. and Under

  Armour Retail, Inc. (“Under Armour”) [ECF NO. 212], filed on January 19, 2021. The Court also

  is in receipt of Plaintiff’s response in opposition, thereto, [ECF No. 224], filed on January 22,

  2021.

          By Order [ECF No. 219] dated January 20, 2021, Senior United States District Judge Irene

  M. Keeley referred the motion to the undersigned Magistrate Judge for hearing and order as to

  appropriate disposition.

          On January 25, 2021, the undersigned Magistrate Judge conducted a hearing on the subject

  motion and other pending motions referred in this matter, and took the parties’ arguments under

  advisement. The undersigned Magistrate Judge conducted a follow-up Status Conference as to the

  subject motion and other referred matters on January 29, 2021.
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         Under Armour complains that Plaintiff has propounded a notice under Fed. R. Civ. P.

  30(b)(6) which is too broad and pertains to subjects too numerous for Under Armour to reasonably

  prepare and respond. Under Armour emphasizes that Plaintiff proposes 122 areas of inquiry, that

  multiple witnesses will be required to address the topics which are specified in the notice, and that

  the discovery deadline is looming.

         Plaintiff emphasizes the following: that it took approximately one year to obtain electronic

  discovery from Under Armour; that follow-up discovery requests were necessary; and that only

  then could Plaintiff put forth a Rule 30(b)(6) notice with some sort of detail and specificity.

  Plaintiff also complains that Under Armour then waited approximately one month before objecting

  to the Rule 30(b)(6) notice, thereby letting precious time pass under the Scheduling Order to

  conduct discovery before discovery cutoff. Moreover, Plaintiff argues, convincingly, that although

  the areas of specific inquiry may be numerous, they fairly may be grouped into a smaller number

  of areas of inquiry. In other words, says Plaintiff, the areas of inquiry are not wholly separate and

  distinct, but rather are subsets of a smaller number of areas of inquiry. It is not lost on the

  undersigned that, given the tenor of discovery disputes in this matter, Under Armour may well

  have objected if Plaintiff’s areas of inquiry had been broader, fewer in number, and thus subject

  to challenge for vagueness and lack of particularity. In fact, and as noted to counsel during the

  aforementioned Status Conference, Plaintiff’s areas of inquiry read to the undersigned like a list

  of questions in preparation for a deposition, and may actually demonstrate transparency and

  specificity in aid of Under Armour’s preparation for examination of its Rule 30(b)(6) witness(es).

         While Under Armour objects to certain areas of inquiry potentially treading on the

  attorney-client privilege or contravening the work-product doctrine, Plaintiff in her response

  assures that she is not aiming to obtain such information. Moreover, Plaintiff states that she is in
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  search of factual information, not counsel’s mental impressions or work product. To that end, the

  Court would expect that Under Armour would be eminently capable of making necessary objection

  and instruction during Rule 30(b)(6) depositions should Plaintiff’s counsel stray from permissible

  lines of questioning in this regard.

         To be sure, the undersigned is sensitive to Rule 30(b)(6) processes being subject to the

  limitations set forth in Rule 26 as to relevance. But Under Armour cannot avoid producing

  necessary Rule 30(b)(6) witness(es) altogether. It should have anticipated producing such witness

  testimony from the outset of this litigation, and cannot rely on the impending discovery deadline

  to escape the obligation. And to be clear, based upon a helpful summary/update of which Under

  Armour provided to the undersigned’s chambers prior to the January 29, 2019 Status Conference,

  it seems as if the parties here are making at least some strides toward agreement as to some topics

  or areas of inquiry.

         Accordingly, based on the foregoing, Under Armour’s motion [ECF No. 212] is hereby

  DENIED. It is so ORDERED. Further, as indicated during the aforementioned Status Conference

  on January 29, 2021, Under Armour plans to challenge the undersigned’s decision here.

  Accordingly, it is further ORDERED that relief granted in this Order shall be STAYED until

  February 3, 2021 so as to provide Under Armour an opportunity to lodge objections as to the

  same with the presiding District Judge. Notwithstanding the foregoing, and as noted during the

  January 29, 2021 Status Conference, despite this stay, the parties are DIRECTED to schedule

  and proceed with Rule 30(b)(6) deposition(s) under the scope ordered herein unless and until

  the presiding District Judge orders otherwise.
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         The Clerk of the Court is directed to provide a copy of this Order to all counsel of record,

  as applicable, as provided in the Administrative Procedures for Electronic Case Filing in the United

  States District Court for the Northern District of West Virginia.

         DATED: February 1, 2021
